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 9                       UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11   UNITED STATES OF AMERICA           )    No. 21CR2627-CAB
                                        )
12                    Plaintiff,        )    JOINT MOTION TO CONTINUE STATUS
                                        )    HEARING
13      v.                              )
                                        )    Date:   July 28, 2022
14                                      )    Time:   9:30 a.m.
     MATTHEW TAYLOR COLEMAN,            )
15                                      )
                      Defendant.        )
16                                      )
17
18        The United States of America and defendant MATTHEW TAYLOR

19   COLEMAN jointly move to continue the status hearing from July

20   28, 2022, 9:30 a.m. to a date and time convenient to the court
21   in October 2022; and to exclude time under the Speedy Trial Act.
22        a.   The Indictment in this case was filed on Sept. 8,
23   2021. Coleman first appeared in this district on Sept. 29, 2021.
24   The Speedy Trial Act, 18 U.S.C. 3161(c)(1), requires trial to
25   start within 70 non-excludable days from the later date.
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 1        b.   Section 3161(h) excludes certain periods of time in

 2   calculating the 70 days. That includes delay resulting from a

 3   continuance if the court finds “the ends of justice served by

 4   taking such action outweigh the best interest of the public and

 5   the defendant in a speedy trial.” 18 U.S.C. 3161(h)(7)(A). The

 6   court must “set[] forth … either orally or in writing, its

 7   reasons” for the finding. Id. The court “shall consider” the

 8   following factors, “among others”:

 9             (i) Whether the failure to grant such a
          continuance in the proceeding would be likely to make
10        a continuation of such proceeding impossible, or
11        result in a miscarriage of justice.
               (ii) Whether the case is so unusual or so
12        complex, due to the number of defendants, the nature
          of the prosecution, or the existence of novel
13        questions of fact or law, that it is unreasonable to
14        expect adequate preparation for pretrial proceedings
          or for the trial itself within the time limits
15        established by this section.

16   18 U.S.C. 3161(h)(7)(B). “No continuance under [this provision]
17   shall be granted because of general congestion of the court’s
18   calendar, or lack of diligent preparation or failure to obtain
19   available witnesses on the part of the attorney for the
20   Government.” 18 U.S.C. 3161(h)(7)(C).
21        c.   The ends of justice served by granting the requested
22   continuance outweigh the best interests of the public and the
23   defendant in a speedy trial, for the following reasons:
24
               (1) Coleman is charged with two counts of foreign
25        first-degree murder of U.S. nationals. The alleged victims
          were his 2-year-old son and 10-month-old daughter. By
26        previous orders, the court excluded from November 5, 2021,
          to July 28, 2022, in computing the time within which trial
27        must start. ECF 20, 30. The period from October 26, 2021,
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         to October 29, 2021, is also excluded. See 18 U.S.C.
 1       3161(h)(1)(D); ECF 19-20. The background and progression of
         the case were explained in motions requesting those
 2       continuances, ECF 19, 21, 29, which are incorporated by
 3       reference herein.

 4            (2) The Department of Justice must decide whether to
         seek the death penalty in this case. As part of that
 5       process, on June 27, 2022, the defense met with officials
         from the U.S. Attorney’s office and presented mitigating
 6       information for consideration. The U.S. Attorney has
         submitted a recommendation to the Department of Justice.
 7       Under the Department’s review protocol, the case will go
 8       through multiple levels of review and may include another
         defense presentation to DOJ officials of mitigating
 9       information.

10            (3) The parties also are still reviewing evidence and
         discovery. For example, in June 2022, the prosecution
11       provided Coleman with years of unfiltered data recently
         received through search warrants on three social media
12       accounts.
13
              (4) Continuing the status hearing to October—after
14       DOJ officials have time to review and discuss the case and
         determine next steps and after the review of evidence and
15       discovery is more complete—will allow the parties to give
         the court a realistic timetable for a decision on the death
16       penalty, litigation of pretrial motions, and trial.
17            (5) The parties have exercised due diligence. For
         reasons above, failure to grant the requested continuance
18
         would deny counsel the reasonable time necessary for
19       effective preparation and result in a miscarriage of
         justice. The case is also unusually complex because of the
20       nature of the prosecution, potential penalty, and potential
         mental health defense. It is unreasonable to expect
21       adequate preparation for motions, pretrial proceedings, and
         trial within the usual time limits of 18 U.S.C. 3161 et
22       seq.
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              (5) This is the fourth request for a continuance in
 1       this case.
 2            (6)   Coleman is in custody.
 3
              (7) The parties agree the period of delay excluded
 4       spans from July 28, 2022, until the new date for the status
         hearing.
 5
 6       DATED:     July 21, 2022

 7                                 Respectfully submitted,

 8                                 RANDY S. GROSSMAN
                                   United States Attorney
 9
                                   s/Peter Ko
10
                                   JOANNA M. CURTIS
11                                 KEVIN J. BUTLER
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                                   s/Cuauhtemoc Ortega (w/authorization)
16
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                                   Federal Public Defender
18                                 CHRISTY O’CONNOR
                                   ELENA SADOWSKY
19                                 Deputy Federal Public Defenders
20
                                   Counsel for Coleman
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